EXHIBIT 24
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1            UNITED STATES DISTRICT COURT

2         SOUTHERN DISTRICT OF NEW YORK

3    1:21-cv-10623-JKG

4    - - - - - - - - - - - - - - - - - - - - x

5    ESPIRE ADS LLC, THE BLUE MARKET, INC.,

6    ex rel. LISA NAVARRO, THE BLU MARKET,

7    LLC, ex rel. LISA NAVARRO, and LISA

8    NAVARRO, individually,

9                    Plaintiffs,

10   v.

11   TAPP MARKET INFLUENCERS, LLC, TAPP

12   INFLUENCERS CORP, THE BLU MARKET, INC.,

13   THE BLUE MARKET LLC, STEVEN FORKOSH,

14   BRENNAN KASTNER, and JUSTIN EMERT,

15                   Defendants.

16   - - - - - - - - - - - - - - - - - - - - x

17             TRANSCRIPT OF VIDEO

18        FILE RPReplay_Final1642733059

19
                  APPEARANCES:
20
                  Semaj Coleman
21
                 Jaylin Thompson
22
                 Nyema Michelle
23
                  Lisa Navarro
24

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1    grown millions of accounts.    I've worked

2    for millions of artists.    I worked for

3    every app on the market.    That's from,

4    you know, we -- iHeartRadio, every

5    solitaire app you can imagine.    Every VPN

6    started with me.

7         All my CPI apps got taken away

8    because when PlugCo was on the come-up

9    around 2017, they were just straight

10   hitting up all my people and telling them

11   not to work with me, that I'm bullshit,

12   and that --

13        MR. COLEMAN:    So Plug also has

14   something to do with this, too?

15        MS. NAVARRO:    Well, no, no, no.

16   They just --

17        MR. COLEMAN:    Oh, no?

18        MS. NAVARRO:    -- poached everybody.

19        MR. COLEMAN:    Oh.

20        MS. NAVARRO:    And then they started

21   tallying the CPI apps, the advertisers --

22   because they have this huge, like,

23   hundred-thousand dollar office in San

24   Francisco.    So they started telling those

25   guys not to work with me.
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1         And so I just got tired of the

2    fight.   I quit going after download apps,

3    right?   So I focused on surveys.     I'm the

4    one who brought surveys.     No one trusted

5    surveys.   No one would promote surveys

6    because they thought it was a scam.     I

7    spent -- I've been working with them for

8    almost five years, and I spent three

9    straight years educating everybody about

10   how surveys work and why they're not a

11   scam and why you can make a lot of money.

12        Now, all of a sudden, everybody's

13   just in my lane, so it's like I even got

14   out of the app install game and went to

15   surveys just so I could be in my own lane

16   and people would quit attacking me.     And

17   it just -- it's just a constant thing.

18   And so now I have everybody under the Sun

19   coming up, coming after the same

20   influencers.   And it's like I try to tell

21   them to, why don't you make your -- like,

22   go after different offers.     Like, how

23   about give everybody something different

24   to promote.    Like, why you -- why

25   everybody have the same offers?     Like,
